      Case 4:18-cv-04248 Document 5 Filed on 11/27/18 in TXSD Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

LEE MARVIN SANDERS AND                          §
MATTHEW SODROK                                  §
             Plaintiffs,                        §
                                                §
vs.                                             §    CIVIL ACTION NO. 4:18-cv-04248
                                                §
THE BOEING COMPANY                              §
             Defendant                          §

               PLAINTIFFS’ VOLUNTARY NOTICE OF DISMISSAL

       Plaintiffs, Lee Marvin Sanders and Matthew Sodrok, respectfully file this

Voluntary Notice of Dismissal pursuant to Rule 41(a)(1)(A)(i) without prejudice and as

cause therefore would show this Honorable Court as follows:

                                           I.

       Plaintiffs no longer desire to prosecute this matter at this time and move this Court

to dismiss this action under Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,

without prejudice to Plaintiffs’ right to refile the claim at some future date.

       Plaintiffs would show the Court that at the time of filing this Notice, the summons

has not been served to Defendant.

       For these reasons, Plaintiffs’ claims and causes of action against Defendant are

hereby dismissed without prejudice pursuant to Rule 41(a)(1)(A)(i).
Case 4:18-cv-04248 Document 5 Filed on 11/27/18 in TXSD Page 2 of 2




                              Respectfully submitted,

                              DAVIS LAW GROUP


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